              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:18 CR 97

UNITED STATES OF AMERICA               )
                                       )                  ORDER
      v.                               )
                                       )
RALPH DOUGLAS HUSBY                    )
______________________________________ )

      This matter is before the Court on a memorandum to the undersigned

from United States Probation Officer Jennifer Call dated May 19, 2020. The

memorandum provides information concerning Defendant’s current health

status.

      The memorandum indicates that it has been copied to counsel for the

Government and defense counsel.

      The clerk will respectfully be directed to file a copy of the memorandum

on the docket. Given the nature of the information, and at the request of Officer

Call, the filing shall be made under seal.

      The clerk will also respectfully be directed to schedule a status

conference with counsel. Defendant’s presence is not required at the

conference.

      It is so ordered.

                                   Signed: May 19, 2020




     Case 1:18-cr-00097-MR-WCM Document 81 Filed 05/20/20 Page 1 of 1
